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   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11   ANDRES RAMIREZ, as an individual,           CASE NO. CV 17-08580 JAK (SSx)
  12               Plaintiff,
                                                   [PROPOSED] ORDER
  13                   v.
  14   CITY OF LOS ANGELES, a                      [Filed Concurrently with Joint
       municipal corporation, LOS                  Stipulation to Set Aside Defaults as to
  15   ANGELES POLICE DEPARTMENT,                  Officers Hector Cortez, Daniel Hughes
       a public entity, CHIEF CHARLIE              and Aarshivir Shaldjian]
  16   BECK, in his official capacity,
       OFFICER HECTOR CORTEZ,
  17   individually and in his official capacity   Complaint Filed:    11/27/2017
       as an Police Officer, OFFICER               Trial Date:         None set
  18   AARSHIVIR SHALDJIAN, as an
       individual and in his official capacity
  19   as an Police Officer, OFFICER
       DANIEL HUGHES individually and in
  20   his official capacity as an Police
       Officer, ALLEN SARKISYAN, as an
  21   individual, LEVON ARUSHANYAN,
       as an individual, and DOES 1-50
  22
  23
                   Defendants.
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            After full consideration of the Stipulation by the parties, and good cause having
  26
       been shown, IT IS HEREBY ORDERED:
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            The defaults entered by the Clerk on January 31, 2018 as to Officers Hector
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       _______________________________________________________________________________
                                     [PROPOSED] ORDER
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   1 Cortez, Daniel Hughes and Aarshivir Shaldjian are set aside and vacated.
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   3        IT IS SO ORDERED.
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   5        Dated:_____________________        By:_____________________________
   6                                                HON. JOHN A. KRONSTADT
   7                                               United States District Court Judge
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  28 _______________________________________________________________________________
                                     [PROPOSED] ORDER
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